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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

        Plaintiff,

                v.                                     CRIMINAL NO. 15-696-32 (PAD)

 Carlos J. Lopez-Melendez (32)

        Defendant.


                                            ORDER

       Mr. Alejandro Colon-Lopez, Interim Chief, Documents and Records Division of the Puerto

Rico Department of Corrections and Rehabilitation, shall provide to Mr. Luis Encarnacion, Chief

U.S. Probation Officer for the District of Puerto Rico, or any duly authorized representative, not

later than November 22, 2019, the Sentence Computation Control Sheet ("Hoja de Control Sobre

Liquidacion de Sentencias") for the following cases: Cr. Nos. GSC2014G0297 and

GSC2014G0298. This form shall contain the actual time served for the state sentences.



       SO ORDERED.

       In San Juan, Puerto Rico, this 23rd day of October, 2019.

                                                    s/Pedro A. Delgado-Hernández
                                                    PEDRO A. DELGADO HERNÁNDEZ
                                                    United States District Judge
